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                                            March 27, 2024

VIA E-MAIL


Stanley J. Okula, Jr.
Senior Litigation Counsel
Department of Justice- Tax Division



RE:         GJ Subpoena for Documents to

Dear Stan:

Pursuant to our further communications, please find enclosed supplemental information on behalf
of our client,           in response to the grand jury subpoena dated December 19, 2023:

       •    Cryptocurrency transaction of 242,410 to Goldstein’s address
            “                                                54E3” on June 6, 2023.

              has confirmed that this was payment for a 2023 poker loss to Mr. Goldstein.

If you have any questions, please feel free to email me or contact me on my cell at

                                                Sincerely,




/sht
cc:




                                                                                      Exhibit 9
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